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 7                                    UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    UNITED STATES OF AMERICA,                         Case No. 2:13-cr-00272-KJM
11                       Plaintiff,
12             v.                                       ORDER
13    JOSEPH NKUNZI, et al.,
14                       Defendants.
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16                  The court finds relation of the above-captioned case, which is closed, with the other

17   currently pending cases identified in the government’s filing, see ECF No. 147, is unlikely to effect

18   a substantial savings of judicial effort. This court therefore DECLINES to relate the cases under

19   Rule 123. This decision is, of course, without prejudice to any decision by the presiding judge in

20   the next lowest-numbered case to relate his case and the third case identified in the government’s

21   notice.

22                  IT IS SO ORDERED.

23   DATED: February 28, 2019.

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25                                                  UNITED STATES DISTRICT JUDGE
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